Case 1:20-cv-23591-CMA Document 17 Entered on FLSD Docket 12/23/2020 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 20-23591-CIV-ALTONAGA/Torres

  JESUS GONZALEZ,

         Plaintiff,
  v.

  32 AVE VALERO CORP.,

        Defendant.
  ________________________/

                                               ORDER

         THIS CAUSE came before the Court sua sponte. On October 23, 2020, the Court entered

  an Order Administratively Closing Case [ECF No. 16] requiring the parties to file a stipulation of

  dismissal within 60 days of the Order. To date, no stipulation of dismissal has been filed, nor have

  the parties requested additional time to comply. Accordingly, it is

         ORDERED that the case is DISMISSED without prejudice.

         DONE AND ORDERED in Miami, Florida, this 23rd day of December, 2020.



                                                           _________________________________
                                                           CECILIA M. ALTONAGA
                                                           UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
